                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA




 UNITED STATES OF AMERICA                             )
                                                      )      Case No. 1:07-cr-84
 vs.                                                  )
                                                      )      JUDGE JORDAN
 TREMIS WOODLEY                                       )      MAGISTRATE JUDGE LEE
                                                      )



                              REPORT AND RECOMMENDATION



        Counsel for defendant Woodley requested a psychiatric/psychological evaluation of

 defendant TREMIS WOODLEY on December 21, 2007 [Doc. 514] and an order was entered on

 January 15, 2008 allowing said evaluation [Doc. 524]. An April 28, 2008 letter from Eric Wilson,

 Warden of the Federal Bureau of Prisons, Metropolitan Correctional Center in Chicago, Illinois, and

 a Forensic Evaluation of defendant Woodley, were received by the Court. The findings in the

 evaluation are that defendant is not suffering from a severe mental disease or defect rendering him

 mentally incompetent to the extent he is unable to understand the nature and consequences of the

 proceedings filed against him or assist his attorney in his defense. Defendant Woodley’s Attorney,

 Tracy Jackson Smith, contacted the chambers of Magistrate Judge Lee and on behalf of defendant

 Woodley advised he would not be requesting a competency hearing, he would file a Waiver of

 Competency Hearing pursuant to 18 U.S.C. § 4247(d), and he would not be requesting the mental

 evaluation be placed under seal. Therefore, I RECOMMEND the Court find defendant Woodley



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 is competent to understand the nature and consequences of the proceedings against him and able to

 assist in his defense, and further find defendant is competent to stand trial. Also, the mental

 evaluation of defendant TREMIS WOODLEY shall be filed by the Clerk’s office in the official

 record of this case.

                SO ORDERED:

                ENTER.
                                             s/Susan K. Lee
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE




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